Case 3:22-cv-01559-RK-JBD Document 13-1 Filed 09/07/22 Page 1 of 2 PageID: 209




                        UNITIED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


JASON A. ZANGARA                             )
                                             )
       Plaintiff,                            )   Civil No. 3:22-cv-01559-GC-LHG
                                             )
  V.                                         )
                                             )
                                             )
National Board of Medical Examiners (NBME)   )
                                             )




                              EXHIBITS ON
   PLAINTIFFS BRIEF IN OPPOSITION TO DEFENDANTS MOTION TO DISMISS
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   AO 240A (Rov. 01/09; NJ 06/17; NJ I0/21; NJ 1122) Order (o Proceed Wilhoul Prepaying Fees or Cosls


                                UNITED STATES DISTIUCT COURT
                                                                  for lhc
                                               DISTR1CT OF NEW JERSEY


JASON ZANGARA
                                                                                   ORDER ON APPLLCATION
                      Plaintiff(s),                                                 TO PROCEED WITHOUT
                                                                                    PR.EPA YMENT OF FEES
           Y,
                                                                                  Civil Action No. 3:22-cv-01559
NATtONAL BOARD OF Ml.lDlCAL BXAMlNERS
                      Defcndant(s).




  Having considered the application to proceed without prepayment of fees undet' 28 U.S.C .
  § l 915, 1;:;s ORDERED tile app lication ls:

     g /              GRANTED, and

     ~                The clerk is ordered to file the compla int,


     if               IT IS FURTHER ORDERED, the clerk issue a sum,;1011s and the U.S. Mm,trnl
                      serve a copy of the complaint, summons and this order upon the defendant(s) as
                      directed by the plaintiff(s), All costs of service sha ll be advanced by the United
                      States.


     □
                      DENTED, for the fol lowing 1·cnsons:



     □
                      IT IS FURTHER ORDERED, the clerk is ordered to close the file . Plaintiff(s)
                      may su bmit payment in the ft t11ount of $402 within 14 days from the date of this
                      ot·der to reopen the case without furthe1· action from the Co mt.



  ENTERED this~ny of June                                     , 2022


                                                                                   eorgette Cas tner, U .S.D.J.
                                                                                                            - - -- - -
                                                                               Name rmd Title of Judicial Office!'
